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  5   ALAN.ALEXANDER.BECK@GMAIL.COM                  MS BAR NO. 102784
      ATTORNEYS FOR PLAINTIFFS                        *ADMITTED PRO HAC VICE
  6   RUSSELL FOUTS AND
  7   TAN MIGUEL TOLENTINO
  8
                        IN THE UNITED STATES DISTRICT COURT
  9
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11
12
13    RUSSELL FOUTS and TAN                          19-cv-01662-BEN-JLB
      MIGUEL TOLENTINO,
14
                                       Plaintiffs,
15                                                   JOINT MOTION TO STAY
                  v.                                 LITIGATION OF ATTORNEYS’
16                                                   FEES AND COSTS PENDING
                                                     APPEAL
17    ROB BONTA, in his official capacity
      as the Attorney General of the State       Judge:              Hon. Roger T. Benitez
18    of California,
                                                 Courtroom:          5A
19                                   Defendant. Action Filed:        September 1, 2019
20                                             J Judgment:           February 23, 2024

21
            COME NOW THE PARTIES, Plaintiffs Russell Fouts and Tan Tolentino and
22
23    Defendant Rob Bonta, in his official capacity as the Attorney General of the State of

24    California (collectively, the “Parties”), by and through their respective counsel,
25
      respectfully move this Court for an Order staying all proceedings regarding
26
27    attorneys’ fees and/or costs in this action until 30 days after completion of all

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                                                    1
              Joint Motion to Stay Litigation of Attorneys’ Fees and Costs Pending Appeal
                                        (19-cv-01662-BEN-JLB)
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  1   appellate proceedings. The Parties’ joint request is based on the good cause shown
  2
      below.
  3
            On February 23, 2024, this Court entered summary judgment in favor of
  4
  5   Plaintiffs and enjoined California’s enforcement of California Penal Code § 22210,
  6
      as it applies to a “billy.” ECF #86. This Court entered judgment on the same day.
  7
  8   ECF #87. Defendant Bonta appealed this Court’s Decision and Judgment to the

  9   Ninth Circuit Court of Appeals on February 26, 2024. ECF #88.
10
            Under Rule 54(d) of the Federal Rules of Civil Procedure, a claim for
11
12    attorneys’ fees and costs must be filed no later than 14 days after the entry of

13    judgment, “[u]nless . . . a statute or a court order provides otherwise.” A district court
14
      may, however, defer litigation of attorneys’ fees and costs until a pending appeal has
15
16    been decided. See Fed. R. Civ. P. 54 cmt. (1993 amend.) (“If an appeal on the merits

17    of the case is taken, the court may rule on the claim for fees, may defer its ruling on
18
      the motion, or may deny the motion without prejudice, directing under subdivision
19
20    (d)(2)(B) a new period for filing after the appeal has been resolved.”). As this

21    language suggests, the decision to stay costs and fees litigation “is a matter within
22
      the court’s discretion.” Lasic v. Moreno, No. 05-0161, 2007 WL 4180655, at *1
23
24    (E.D. Cal. Nov. 21, 2007) (citing Ass’n of Mex.-Am. Educs. v. California, 231 F.3d

25    572, 591-92 (9th Cir. 2000)).
26
            Here, judgment has been entered, and an appeal has been filed. The Parties
27
28    request that the Court enter an order staying proceedings in the district court relating

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  1   to attorneys’ fees and costs of suit. Granting the requested stay would preserve
  2
      judicial resources and the Parties’ resources and allow the parties to focus on
  3
      preparing the merits appeal for the Ninth Circuit. Litigating the issue of attorneys’
  4
  5   fees and costs now would require the Court and the Parties to expend resources that
  6
      may be wasted in the event Defendant succeeds on appeal. See e.g., Lasic 2007 WL
  7
  8   4180655, at *2-3 (finding that it was in the interests of judicial economy, to defer

  9   ruling on attorneys’ fees and costs until the pending appeal was disposed). Indeed,
10
      “[i]t would be an inefficient use of judicial resources to rule on [costs and fees] at
11
12    this time, and then to later re-evaluate the issue after the appeal is completed.” Id.

13          The Parties thus agree that good cause exists for an order staying litigation of
14
      attorneys’ fees and costs during the pendency of Defendant’s appeal of this Court’s
15
16    decision. And, based on that good cause, the Parties request that the Court grant this

17    joint motion for an order staying all proceedings regarding attorneys’ fees or costs in
18
      this action until 30 days after the completion of all appellate proceedings.
19
20          Respectfully Submitted,

21    Dated: February 27, 2024
22
      /s/ Alan Alexander Beck                    /s/ Stephen D. Stamboulieh
23    Alan Alexander Beck                        Stephen D. Stamboulieh
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                                                     3
               Joint Motion to Stay Litigation of Attorneys’ Fees and Costs Pending Appeal
                                         (19-cv-01662-BEN-JLB)
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  6
       455 Golden Gate Avenue, Suite 11000
  7    San Francisco, CA 94102-7004
       /s/ John D. Echeverria
  8    JOHN D. ECHEVERRIA
       Deputy Attorney General
  9    Attorneys for Defendant Rob Bonta, in his
       official capacity as Attorney General of the
10     State of California
11
12
13                      ATTESTATION OF E-FILED SIGNATURES
14          I, Alan Beck, am the ECF User whose ID and password are being used to file
15    this JOINT MOTION TO STAY LITIGATION OF ATTORNEYS’ FEES AND
16    COSTS PENDING APPEAL. In compliance with Southern District of California
17    Electronic Case Filing Administrative Policies and Procedures Section 2(f)(4), I
18    attest that all signatories have concurred in this filing.
19
      Dated: February 27, 2024                         /s/ Alan Beck
20                                                     Alan Beck
21
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                                                     4
               Joint Motion to Stay Litigation of Attorneys’ Fees and Costs Pending Appeal
                                         (19-cv-01662-BEN-JLB)
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  1                           CERTIFICATE OF SERVICE
                           UNITED STATES DISTRICT COURT
  2
                         SOUTHERN DISTRICT OF CALIFORNIA
  3
      Case Name: Fouts, et al. v. Bonta
  4
      Case No.: 19-cv-01662-BEN-JLB
  5
      IT IS HEREBY CERTIFIED THAT:
  6
  7         I, the undersigned, declare under penalty of perjury that I am a citizen of the
  8   United States over 18 years of age. My business address is 2692 HARCOURT
      DRIVE, SAN DIEGO, CA 92123. I am not a party to the above-entitled action.
  9
10          I have caused service of the following documents, described as:

11       JOINT MOTION TO STAY LITIGATION OF ATTORNEYS’ FEES
12                            AND COSTS PENDING APPEAL
13    on the following parties by electronically filing the foregoing on February 27, 2024,
14    with the Clerk of the District Court using its ECF System, which electronically
      notifies them.
15
16    Rob Bonta
      Attorney General of California
17     R. MATTHEW WISE
18     Supervising Deputy Attorney General
       JOHN D. ECHEVERRIA
19     CHRISTINA R.B. LÓPEZ
20     KATRINA KEIKO UYEHARA
       Deputy Attorneys General
21      455 Golden Gate Avenue, Suite 11000
22      San Francisco, CA 94102-7004
        Attorneys for Defendant
23
24         I declare under penalty of perjury that the foregoing is true and correct.
      Executed on February 27, 2024, at San Diego, CA.
25
26                                                     /s/ Alan Beck
                                                       Alan Beck
27
28
                                                     5
               Joint Motion to Stay Litigation of Attorneys’ Fees and Costs Pending Appeal
                                         (19-cv-01662-BEN-JLB)
